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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
Plaintiff, )

)

Vv. )  CivilNo, 19-1112]

)

LETTER FROM ALEXANDER )
HAMILTON TO THE MARQUIS DE )
LAFAYETTE DATED JULY 21, 1780 )
Defendant. )

WARRANT AND MONITION

To: The United States Marshal for the District of Massachusetts, or his Deputies

You Are Hereby Commanded to give notice to all persons concerned that a Verified
Complaint for Forfeiture in Rem (the “Complaint”), a copy of which is attached hereto, has been
filed by the United States of America against the defendant property, described as:

a. Letter from Alexander Hamilton to the Marquis de Lafayette dated July
21, 1780 (the “Hamilton Letter”).

This Court has found probable cause for forfeiture of the Defendant Property.
Accordingly, you are hereby directed to serve, and give notice of the Complaint by:
(1) Publishing notice of the United States’ intent to forfeit the
Defendant Properties via the government website,
www.forfeiture.gov, for thirty (30) consecutive calendar
days; and

(2) Mailing a copy of this Warrant and Monition, together with
a copy of the Complaint to:

Ann-Stewart Boss Estate of R. E. Crane
2868 Captain Sam’s Road c/o Attorney William B. Swent
Seabrook Island, SC 29455 Fox Rothschild LLP

2 W. Washington Street, Suite] 100
Greenville, SC 29601
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Massachusetts State Archives

Attn: Rebecca S. Murray, Supervisor of Records
Public Records Division

Office of the Secretary of the Commonwealth
One Ashburton Place, Room 1719

Boston, MA 02108

You Are Further Commanded to arrest, attach, inspect, and retain the Hamilton Letter in

 

your custody until further order of this Court.

You Are Further Commanded to give due notice by appropriate service of process, as

 

provided herein, to all persons who claim an interest in the Hamilton Letter, or assert that the
Hamilton Letter should not be condemned or disposed of pursuant to the prayer of the Complaint.
Upon execution of this process, you are directed further to file the execution in this Court with
your return thereon.

ALL CLAIMS TO THE HAMILTON LETTER MUST BE FILED WITH THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS AND SERVED
UPON ASSISTANT UNITED STATES ATTORNEY CAROL E. HEAD, UNITED STATES
ATTORNEY'S OFFICE, ASSET RECOVERY UNIT, | COURTHOUSE WAY, SUITE 9200,
BOSTON, MASSACHUSETTS 02210, WITHIN SIXTY (60) DAYS AFTER THE FIRST DAY
OF PUBLICATION ON THE OFFICIAL GOVERNMENT FORFEITURE WEBSITE OR
WITHIN THIRTY-FIVE (35) DAYS AFTER RECEIPT OF ACTUAL NOTICE, WHICHEVER
IS EARLIER. ALL ANSWERS TO THE COMPLAINT MUST BE FILED WITH THE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS AND
SERVED UPON ASSISTANT UNITED STATES ATTORNEY CAROL E. HEAD, UNITED
STATES ATTORNEY'S OFFICE, ASSET RECOVERY UNIT, 1 COURTHOUSE WAY,
SUITE 9200, BOSTON, MASSACHUSETTS 02210, WITHIN TWENTY ONE (21) DAYS

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AFTER THE FILING OF THE CLAIM. CLAIMS MUST BE FILED IN ACCORDANCE
WITH THE FEDERAL RULES OF CIVIL PROCEDURE, SUPPLEMENTAL RULES FOR
ADMIRALTY OR MARITIME AND ASSET FORFEITURE CLAIMS. THE PROCEDURES
FOR FILING A PETITION FOR REMISSION OR MITIGATION ARE SET FORTH IN 28
CODE OF FEDERAL REGULATIONS, PART 9. IN ADDITION TO THE PROCEDURES
MANDATED BY THOSE REGULATIONS, A COPY OF ANY PETITION FOR REMISSION
OR MITIGATION SHOULD BE FILED WITH THE SEIZING AGENCY, WHICH IS THE
UNITED STATES FEDERAL BUREAU OF INVESTIGATION, 201 MAPLE STREET,

CHELSEA, MASSACHUSETTS, 02150, ATTENTION: ASSET FORFEITURE.

Robert M. Farrell, Clerk
U. S District Court,

By: line, the het: Se

/Deputy Clerk

| Date: Mery Lo _,2019
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APPROVED AND SO ORDERED:

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Upfied States Magistrate Judge
